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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
RESHMA ABELL,
: Civil Action No.:
Plaintiff, :  2:18-cv-16509 (MCA) (AME)
V.
: DECLARATION OF RICHARD KAHR_ IN
PACIRA PHARMACEUTICALS, INC., : SUPPORT OF DEFENDANTS’ MOTION FOR
DAVE STACK, individually and in his : SUMMARY JUDGMENT

 

capacity as Chief Executive Officer of
PACIRA PHARMACEUTICALS, _INC.,
and RICH KAHR, PETER MURPHY,
DENNIS McLOUGHLIN, PAUL
CIAVOLELLA, GLENN REISER, JOYCE
DAVIS AND MATT LEHMANN, in their
capacities as employees of PACIRA
PHARMACEUTICALS, INC.,

Defendants.

Richard Kahr, of full age, declares as follows:

1. Iam the Vice President of Human Resources at Pacira Pharmaceuticals, Inc.
(“Pacira”). I am submitting this declaration in support of Defendants’ Reply Brief in support of
Defendants’ motion for summary judgment.

2. During the course of my investigation into the TopGolf incident, I received
notes from Robert Rock in the form of a word document which detailed “Additional info.”

concerning Plaintiff. (See Defendants’ Statement of Undisputed Material Facts, ECF No. 86.1, at
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{| 70, citing the email between Rock and Kahr re. HR interview, identified as Pacira 000089-90,
attached as Exhibit 18 to Panzini Cert. with Defendants’ moving brief). Specifically, this
document detailed four alleged incidents of Plaintiff engaging in inappropriate conduct, one of
which was the incident pertaining to Plaintiff showing images of the Kama Sutra at the NSM. As
Rock was a party to an active investigation concerning Plaintiff arising out of the TopGolf event,
and Rock’s notes did not reflect a first-hand account of any of the incidents reflected therein, I did
not rely on these notes to initiate an investigation into Plaintiff's conduct at the NSM or otherwise.

3. The basis for the decision to investigate the Kama Sutra incident arose when
I received unsolicited information during the course of the TopGolf investigation concerning
Plaintiff’s behavior at the NSM relating to the Kama Sutra from witnesses other than Rock. After
I received the reports regarding Plaintiff's conduct at the NSM, my next step was to speak to her
directly regarding the allegations. Given that she admitted that she viewed the Kama Sutra at the
NSM which depicted images of people engaged in sex in various positions, she showed it to at
least two others, and I had received information about two employees being offended by her
behavior, I did not feel that I needed any additional information as part of the investigation.

4. My investigation into the TopGolf incident was inconclusive because I did

not receive corroboration of the events which transpired between Plaintiff and Rock.

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RICHARD KAHR

VP of Human Resources
Pacira Pharmaceuticals, Inc.

 

Date: August 9, 2021

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